










COURT OF APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 2-03-159-CR
&nbsp;
&nbsp;
JEFFREY 
ANDREW DICKSON&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT
&nbsp;
V.
&nbsp;
THE 
STATE OF TEXAS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;STATE
&nbsp;
&nbsp;
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&nbsp;
FROM 
THE 362ND DISTRICT COURT OF DENTON COUNTY
&nbsp;
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&nbsp;
OPINION
&nbsp;
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I. INTRODUCTION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In 
two counts, appellant Jeffery Andrew Dickson (“Dickson”), a former police 
officer with the Trophy Club Police Department, was charged with sexual assault 
(“count one”) and violation of civil rights (“count two”) after having 
sex while on duty with a woman who was allegedly in his custody.&nbsp; Dickson 
pled not guilty to count one, but refused to enter a plea on count two, forcing 
the trial court to enter a plea of not guilty on his behalf.&nbsp; After trial, 
a jury found Dickson guilty of count two, but could not reach a verdict as to 
count one, which resulted in the trial court declaring a mistrial as to that 
count.&nbsp; The trial court assessed punishment on count two at one year in 
state jail.&nbsp; In a single point, Dickson claims that the evidence is 
factually insufficient to establish that he committed a violation of civil 
rights.&nbsp; We affirm.
II. FACTUAL BACKGROUND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;According 
to Dickson, on the early morning of October 5, 1997, he noticed two cars driving 
down Trophy Club Drive.&nbsp; In the second car, a Volvo, there appeared to be 
two people sitting in the driver’s seat, and one person was hanging out of the 
window throwing up.&nbsp; The Volvo was also swerving prompting Dickson to 
initiate a traffic stop.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When 
Dickson turned on his overhead lights, both cars stopped, one girl exited from 
the Volvo, another exited from the other car, and both rapidly approached 
Dickson.&nbsp; The girls told Dickson that there was a sick person inside the 
Volvo.&nbsp; Dickson made contact with the sick person, the complainant, in 
order to ascertain what was wrong with her.&nbsp; The complainant was throwing 
up, dry heaving, and generally incoherent.&nbsp; Dickson questioned the 
complainant in an attempt to get information about her condition, but received 
no reply.&nbsp; Dickson testified that he had never seen anybody in this 
condition on the side of the road, and he was not sure what to do.&nbsp; Feeling 
the girls were not essential to his investigation, he asked them to leave, which 
they did, leaving behind the complainant’s Volvo.&nbsp; Dickson then informed 
the complainant that he would place her under arrest for driving while 
intoxicated if she was not more cooperative.&nbsp; In response, the complainant 
produced a driver’s license and indicated that the address on her driver’s 
license was incorrect.&nbsp; She was able, however, to provide Dickson with her 
correct address within Trophy Club.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Dickson 
testified that because Trophy Club was a relatively small community and it was 
his common practice to give the residents of the city a “break,” he decided 
to drive the complainant to her home.&nbsp; Without handcuffing the complainant, 
Dickson escorted her out of her car and placed her in the back seat of his 
patrol car.&nbsp; After driving past the complainant’s house, Dickson drove 
the complainant to a remote location in Trophy Club, where they performed oral 
sex on each other and engaged in sexual intercourse.&nbsp; The complainant 
claimed the sexual acts were not consensual, and Dickson claimed they were.
III. STANDARD OF REVIEW
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
court of criminal appeals has recently restated and clarified the standard of 
review to be used by appellate courts in reviewing the factual sufficiency of 
the evidence to support a conviction.&nbsp; See Zuniga v. State, 
No. 539-02, 2004 WL 840786, at *7 (Tex. Crim. App. Apr. 21, 2004).&nbsp; In Zuniga, 
the court held:
&nbsp;
There 
is only one question to be answered in a factual-sufficiency review: Considering 
all of the evidence in a neutral light, was a jury rationally justified in 
finding guilt beyond a reasonable doubt? However, there are two ways in which 
the evidence may be insufficient. First, when considered by itself, evidence 
supporting the verdict may be too weak to support the finding of guilt beyond a 
reasonable doubt. Second, there may be both evidence supporting the verdict and 
evidence contrary to the verdict. Weighing all the evidence under this balancing 
scale, the contrary evidence may be strong enough that the 
beyond-a-reasonable-doubt standard could not have been met, so the guilty 
verdict should not stand. This standard acknowledges that evidence of guilt can 
“preponderate” in favor of conviction but still be insufficient to prove the 
elements of the crime beyond a reasonable doubt. Stated another way, evidence 
supporting guilt can “outweigh” the contrary proof and still be factually 
insufficient under a beyond-a-reasonable-doubt standard.

&nbsp;
Id.&nbsp; 
To make a determination of factual sufficiency, a complete and detailed 
examination of all the relevant evidence is required.&nbsp; Johnson v. State, 
23 S.W.3d 1, 12 (Tex. Crim. App. 2003).&nbsp; A proper factual sufficiency 
review must include a discussion of the most important and relevant evidence 
that supports the appellant’s complaint on appeal.&nbsp; Sims v. State, 
99 S.W.3d 600, 603 (Tex. Crim. App. 2003).
IV. RELEVANT EVIDENCE
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A 
peace officer commits a violation of civil rights if he “engages in sexual 
contact, sexual intercourse, or deviate sexual intercourse with an individual in 
custody.”&nbsp; Tex. Penal Code Ann. 
§ 39.04(a)(2) (Vernon 2003).&nbsp; Custody is defined as “the detention, 
arrest, or confinement of an adult offender.”&nbsp; Id. § 39.04(e)(2).&nbsp; 
Here, the indictment on the civil rights charge alleged the complainant was in 
Dickson’s custody at the time they engaged in sexual activity, and the 
definition of custody in section 39.04(e)(2) was incorporated into the court's 
charge.&nbsp; On appeal, Dickson specifically contends that the evidence is 
factually insufficient to prove that the complainant was “in custody.”&nbsp; 
We disagree.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Initially, 
it is important to note that Dickson testified on both direct and 
cross-examination that the jury was entitled to find him guilty on count two 
because of his own statements.&nbsp; Further, in closing arguments, both of 
Dickson’s attorneys told the jury that Dickson had admitted guilt as to count 
two, and the attorneys went on to ask the jury to find him guilty on that count.&nbsp; 
Now, on appeal, Dickson and the same attorneys that represented him at trial 
argue the jury verdict was manifestly unjust even though the jury did exactly 
what they requested.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In 
addition to Dickson’s testimony, undisputed evidence shows that the 
complainant was detained. Under section 39.04(e)(2), “[a] person is detained 
if, from her perspective, there was such a display of official authority that a 
reasonable person would have thought she was not free to leave.”&nbsp; See 
Potter v. State, No. 01-94-00501, 502-CR, 1995 WL 752460, at *8 (Tex. 
App.—Houston [1st Dist.] Dec. 21, 1995, pet. ref’d) (not 
designated for publication) (finding evidence factually sufficient to show 
“detention,” when, after pulling the complainant over and gaining possession 
of her insurance and identification card, officer ordered complainant to follow 
him in her car to an empty parking garage where he forced her to engage in sex).&nbsp; 
Here, the complainant was placed in the back of Dickson’s squad car at the 
scene of a traffic stop, and such detention continued to the location where 
Dickson engaged in prohibited sexual activity with the complainant.&nbsp; 
Likewise, there was no dispute that Dickson was an on-duty, uniformed police 
officer, that he carried a gun, or that he instructed the complainant to get out 
of her car and into his squad car.&nbsp; Under the facts of this case, a 
reasonable person in the complainant’s position would not have felt she was 
free to leave.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In 
addition to the undisputed evidence of confinement, there was other conflicting 
evidence of confinement.&nbsp; The complainant testified that Dickson told her 
at the scene of the stop that he should take her to jail. She told him that she 
did not want to go to jail and that she was not drunk, but sick.&nbsp; She 
testified that Dickson said there was a way to keep from going to jail and began 
asking her what she would do for him to stay out of jail.&nbsp; At first, the 
complainant did not understand what Dickson was asking for, but once she did she 
said, “Just take me to jail.”&nbsp; After giving the complainant several 
reasons why she did not want to go to jail, Dickson instructed her to get in the 
back of his patrol car.&nbsp; The complainant felt like she was being placed 
under arrest.&nbsp; She testified that she was “trapped” in the back seat of 
his squad car.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Dickson 
testified that it was not him, but the complainant who broached the subject of 
having sex with him by telling him that if he took her home instead of to jail, 
they could undress each other and he could help her get into bed.&nbsp; Dickson 
testified that upon discovering the complainant’s boyfriend’s car in the 
complainant’s driveway and seeing that the lights were on inside the house, 
the complainant suggested they go somewhere else and have sex.&nbsp; On appeal, 
Dickson argues that even if he had previously restrained the complainant by 
putting her in the back seat of his squad car, the complainant’s “freedom of 
movement” was not restrained because, by suggesting they go somewhere else to 
have sex, she voluntarily accompanied Dickson from that point forward.&nbsp; 
According to the complainant, she had no choice but to go with Dickson, who 
after driving past her house and seeing it was occupied, kept driving, told her 
to lie down in the seat, drove to a remote location, and raped her.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Even 
though Dickson’s account of what happened differed from that of the 
complainant, the jury alone determines what weight to give contradictory 
testimonial evidence since it depends on an evaluation of credibility and 
demeanor.1&nbsp; Cain v. State, 958 S.W.2d 
404, 408-09 (Tex. Crim. App. 1997).&nbsp; Here, the jury was rationally 
justified in determining beyond a reasonable doubt that the complainant was in 
custody at the time Dickson had sex with her.&nbsp; See Zuniga, No. 
539-02, 2004 WL 840786, at *7.&nbsp; Therefore, we overrule Dickson’s sole 
point.
V. CONCLUSION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having 
overruled Dickson’s sole point, we affirm the trial court’s judgment.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;BOB 
MCCOY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE
&nbsp;
&nbsp;
PANEL 
B:&nbsp;&nbsp;&nbsp;LIVINGSTON, DAUPHINOT, and MCCOY, JJ.
&nbsp;
PUBLISH
&nbsp;
DELIVERED: 
June 17, 2004

&nbsp;
NOTES
1.&nbsp; 
Dickson argues that since the jury did not convict him of sexual assault as 
alleged in count one, the jury did not believe the complainant’s testimony on 
the issue of “consent,” which, in turn, demonstrates that it did not believe 
her on the issue of “custody.” However, this reasoning is flawed. While the 
jury returned a divided eight to four verdict on count one, this only means that 
some jurors believed the complainant had been raped by Dickson and some jurors 
believed that they had consensual sex. The unanimous guilty verdict on count two 
means that even those jurors who believed the sex was consensual still believed 
it occurred while the complainant was in custody.



